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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

AMYRIS, INC., et al.,                                              Case No. 23-11131 (TMH)

                                    Debtors.1                      (Jointly Administered)

                                                                   Hearing Date: October 18, 2023 at 2:00 p.m. (ET)
                                                                   Obj. Deadline: October 4, 2023 at 4:00 p.m. (ET)

                                                                   [Related D.I. 334]

          DEBTORS’ OBJECTION TO APPLICATION OF THE OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN ORDER (I)
    AUTHORIZING THE RETENTION AND EMPLOYMENT OF JEFFERIES LLC AS
       INVESTMENT BANKER PURSUANT TO 11 U.S.C. §§ 328(a) AND 1103(a)

         Amyris, Inc. (“Amyris”) and its affiliated debtors and debtors in possession (collectively,

the “Debtors”) in the above-captioned Chapter 11 Cases file this Objection (the “Objection”) to

the Application of the Official Committee of Unsecured Creditors for Entry of an Order (I)

Authorizing the Retention and Employment of Jefferies LLC as Investment Banker Pursuant to 11

U.S.C. §§ 328(a) and 1103(a) [D.I. 334] (the “Application”), and respectfully represent as follows:

                                                INTRODUCTION

         1.       The proposed employment of Jefferies LLC (“Jefferies”) as investment banker for

the Official Committee of Unsecured Creditors (the “Committee”) is effectively a giveaway of a

$2,000,000 “Transaction Fee” and $125,000 monthly flat fee to Jefferies. The Debtors are running

the sale process. Their investment banker, Intrepid Investment Bankers LLC (“Intrepid”) does not

require Jefferies’ assistance, nor is there any need for oversight, much less at a price tag exceeding


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 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.


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$2 million. So long as the Debtors’ plan and sale process is ongoing, Jefferies will be providing

only advisory services and perhaps expert testimony on valuation to the Committee. But, first, the

Committee has financial advisors to analyze assets and sale proposals, something that is squarely

within FTI’s scope of duties and core competencies, and Jefferies’ advisory services would

duplicate services that FTI provides on an hourly basis. Second, a valuation expert is not entitled

to a $2,000,000 “Transaction Fee” and $125,000 flat monthly fee. Third, the very fact that Jefferies

would have a financial interest in the outcome of the matter in which it purports to testify as an

“independent expert” would negate the value of such testimony.

        2.       Fourth, as might be inferred from the abandonment of the “success fee” label, the

“Transaction Fee” is not tied to any measurement of success, nor to any contribution by Jefferies

or its client to the subject transaction and so may be payable without any benefit to the estate. This

does not meet the standard for what is effectively pre-approval of compensation under section

328(a) of the Bankruptcy Code. Accordingly, even if the Court were inclined to permit the

employment of Jefferies, which the Committee has not shown is necessary, its compensation

should instead be subject to the standard of reasonableness under section 330. There is no market

basis for Jefferies’ proposed compensation based on any services it might be called upon to

perform at this time. No one knows exactly what services Jefferies will provide to these estates

that warrants such compensation. Therefore, if retained, Jefferies should be required to prove at

the conclusion of these cases that the services provided by the firm merit the monthly fees and

Transaction Fee.




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                                         BACKGROUND

A.      The Debtors’ Chapter 11 Cases

        3.       On August 9 and August 21, 2023 (as applicable, the “Petition Date”), the Debtors

commenced these Chapter 11 Cases by filing voluntary petitions for relief under chapter 11 of the

Bankruptcy Code with the Court. The Debtors have continued in the possession of their property

and have continued to operate and manage their businesses as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code.

        4.       On August 27, 2023, the Office of the United States Trustee (the “U.S. Trustee”)

appointed an official committee of unsecured creditors (the “Committee”) which consists of the

following members: U.S. Bank Trust Co. NA; Cosan U.S. Inc.; Sartorius Stedim North America

Inc.; Hearst Magazine Media Inc.; Wiley Companies; Park Wynwood LLC; and Allog

Participacoes Ltda.

        5.       The Debtors were founded in 2003 to create a more stable supply of a key anti-

malarial treatment. Through the Debtors’ cutting-edge science, artemisinin—the most effective

anti-malarial drug in the world—is now consistently available to treat the deadly disease. Using

the same technological innovations that produced artemisinin, the Debtors have become the

world’s leading manufacturer of ingredients made with synthetic biology. The Debtors provide

sustainable ingredients that are eco-friendly alternatives to raw material sourced for flavors and

fragrances, sweeteners, cosmetics, pharmaceuticals, and other consumer products.

        6.       In addition, the Debtors operate a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), OLIKA™ (clean wellness), MenoLabs™



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(healthy living and menopause wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a

new clean haircare line).

        7.       The Debtors have turned to chapter 11 to implement an operational and balance-

sheet restructuring and to reorganize their business operations to focus on their core competencies

of research and development and the proven capability to commercialize and manufacture

sustainable ingredients. Amyris intends to use the chapter 11 process to reorganize around its Lab-

to-Market™ platform with its in-house capability to cost-effectively manufacture ingredients at an

industrial scale, which necessitates the renegotiation of certain of the Debtors’ existing supply

agreements. To the extent the Debtors own assets inconsistent with this restructuring strategy, the

Debtors intend to sell such assets to maximize value for their estates and their creditors.

B.      DIP Financing, Asset Sales and Restructuring Transactions

        8.       In order to obtain the funds necessary to effectuate the Debtors’ restructuring

strategy, contemporaneous with the filing of these Chapter 11 Cases, the Debtors filed their Motion

of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition

Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)

Granting Related Relief [Docket No. 19] (the “DIP Financing Motion”). On August 11, 2023, the

Court entered the First Interim DIP Order and on September 19, 2023, the Court entered the Second

Interim DIP Order approving the DIP Facility on an interim basis.2 Pursuant to the Interim DIP



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 Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
Final Hearing, and (V) Granting Related Relief [Docket No. 54] (the “First Interim DIP Order”) and Second Interim
Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
Hearing, and (V) Granting Related Relief [Docket No. 322] (the “Second Interim DIP Order”, and collectively, the
“Interim DIP Orders”). A hearing regarding entry of a final DIP Order is set for October 4, 2023.


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Orders and the DIP Credit Agreement executed by the Debtors and the DIP Lenders,3 certain

Milestones were established, pursuant to which the Debtors were to utilize the first two months of

these Chapter 11 Cases to engage with major constituencies in furtherance of developing a

consensual plan of reorganization while continuing the process of marketing its noncore consumer

brands. In the event such a deal cannot be reached, the DIP Financing contemplates a toggle,

whereby the Debtors would pivot to a sale of substantially all their assets pursuant to section 363

of the Bankruptcy Code.

         9.       Consistent with the above strategy, on September 18, 2023, the Debtors filed their

“Brand Assets Sale Motion”4 seeking to establish bid and other procedures to market and

potentially sell their Brand Assets associated with the Operating Consumer Brands.

C.       Retention of Financial Advisors and Investment Bankers

         10.      As noted, the Debtors have employed Intrepid as their investment banker.5 The

Committee did not object to Intrepid’s retention.

         11.      On September 20, 2023, the Committee filed its Application for an Order

Authorizing the Retention and Employment of FTI Consulting, Inc. as Financial Advisor to the




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 Senior Secured Super Priority Debtor in Possession Loan Agreement dated as of August 9, 2023, as amended by
Amendment No. 1 to Senior Secured Super Priority Debtor in Possession Loan Agreement dated as of September 13,
2023 (collectively, the “DIP Facility”).
4
  Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors’ Brand Assets; (B) Approving
Certain Bid Protections in Connection with the Debtors’ Entry Into Any Potential Stalking Horse Agreements; (C)
Scheduling the Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and (E) Granting
Related Relief; and (II) an Order or Orders (A) Approving the Sale of the Debtors’ Brand Assets Free and Clear of
All Encumbrances; and (B) Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases
[Docket No. 316]. A capitalized term used but not otherwise defined in this paragraph shall have the meaning ascribed
to it in the Brand Assets Sale Motion.
5
  See Order (I) Authorizing the Retention and Employment of Intrepid Investment Bankers LLC as Investment Banker
for the Debtors and Debtors In Possession, Pursuant to 11 U.S.C. §§ 327(A) and 328, Nunc Pro Tunc to the Petition
Date; (II) Waiving Certain Requirements Imposed by Local Rule 2016-2; and (III) Granting Related Relief, filed
9/14/2023 [D.I. 280]


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Official Committee of Unsecured Creditors Effective as of August 30, 2023 [D.I. 333]. Among

the services that FTI was retained to provide are:

                 Assistance with the review of the Debtors’ analysis of core business assets and potential
                  disposition or liquidation of non-core assets;

                 Assistance with the review of the Debtors’ cost/benefit analysis with respect to the
                  affirmation or rejection of various executory contracts and leases;

                 Assistance in the review of other financial information prepared by the Debtors, including,
                  but not limited to, cash flow projections and budgets, business plans, cash receipts and
                  disbursement analysis, asset and liability analysis, and the economic analysis of proposed
                  transactions for which Court approval is sought;

                 Assistance in the review and/or preparation of information and analysis necessary for the
                  confirmation of a plan and related disclosure statement in these chapter 11 proceedings . .
                  ..

Id. at 4.

            12.      The scope of services described in the Jefferies Application necessarily overlaps

with FTI’s. The Application contemplates that Jefferies will, among other things:

                 Become familiar with, to the extent Jefferies deems appropriate, and analyze the
                  business, operations, properties, financial condition and prospects of the Debtors;

                 Analyze various Transaction scenarios and the potential impact of these scenarios on
                  the value of the Debtors and the recoveries of those stakeholders impacted by a
                  Transaction;

                 Advise the Committee on any capital structure, debt capacity and feasibility issues in
                  connection with any Transaction;

                 Assist and advise the Committee in analyzing historical financing transactions;

                 Assist and advise the Committee in evaluating and negotiating any Transaction. . . .

Id. at 6.

            13.      Jefferies will perform these duplicative services in service of a function that is only

nominally distinct from FTI’s: serving as the Committee’s “exclusive investment banker” in

connection with an “M&A Transaction” (including a merger, stock purchase, asset purchase,



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recapitalization or reorganization), and in connection with any “Restructuring” or a “Financing”

(each, and together, a “Transaction”).6 Id. at 5.

         14.      As compensation, Jefferies is to receive a monthly flat fee of $125,0007 and a one-

time $2 million “Transaction Fee” if any one of these Transactions occurs, whether or not Jefferies

or its client proposes or contributes anything to the Transaction, or whether the Transaction is

successful by any benchmark relevant to the Committee or its constituency. For example, if the

estates are administratively insolvent and there is a sale of substantially all of the Debtors’ assets,

a $2 million Transaction Fee is earned—whether the sale is for $1 or $100 million. And there is

no requirement that the sale even be a going concern sale, only that substantially all of the Debtors’

assets be sold. If a plan of reorganization is confirmed, no matter what the terms (or even whether

the plan provides a single cent of recovery to unsecured creditors), as long as plan provides for

either a reorganization or the assets being sold as a going concern, the Transaction Fee is earned.

Moreover, although a sale must actually be consummated for the sale-related Transaction Fee to

be earned, no requirement exists with respect to a plan of reorganization since the fee is triggered

by confirmation of a plan without regard to what that plan provides for unsecured creditors and

whether that plan even becomes effective. Consequently, the Transaction Fee is not contingent

upon the estate receiving any benefit but is nonetheless insulated from review pursuant to section

328(a) of the Bankruptcy Code.




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  Roughly, a “Restructuring” comprises “an offer by any party to convert, exchange or acquire any material
outstanding indebtedness, or any similar balance sheet restructuring involving the Debtors” and a Financing is “any
material investment by any third party in the Debtors and/or any other financing activities the Debtors engage in….”
Id. at 5.
7
  Half of the flat fees earned after five months may be applied as a credit against the Transaction Fee. This credit is
likely illusory in view of the DIP Financing Milestones, which provide for a prompt disposition of these cases.


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                                            OBJECTION

        15.      The Debtors’ estates should not bear the cost of another investment banking firm

at all, and it certainly should not be saddled with a success fee, particularly when it is not tied to

any objective measure of success or contribution to a Transaction.

        16.      First, there is no need for Jefferies’ services, and certainly not at the proposed

compensation. Although Jefferies is a highly qualified investment banker and typically receives a

success fee in its engagements, this is just not that type of case. Its services at best will of a nature

that can be provided by FTI, and will have nothing to do with finding alternative transactions for

the Debtors’ restructuring. So long as Intrepid—the Debtors’ retained investment banker—is

running the sale process, Jefferies will not be acting in the fulsome role connoted by the label

“exclusive investment banker,” but in a duplicative or compromised role as advisor and/or

valuation expert. As such, the tasks that Jefferies will actually be called upon to perform in order

to serve in that advisory capacity – in essence, the financial evaluation of the transactions proposed

by the Debtors – are duplicative of tasks that are within the purview of FTI’s employment, and

FTI is well qualified to perform them. Indeed, FTI has investment bankers. All that distinguishes

Jefferies’ employment from the services provided by FTI is the label “exclusive investment

banker,” a label that does not apply here in any meaningful sense.

        17.      Second, the services are not only duplicative but the compensation to be paid for

them is grossly excessive. This is evidenced by the terms of FTI’s employment. Whereas FTI is

compensated on an hourly basis, Jefferies is to receive a $125,000 monthly flat fee and a

$2,000,000 fee for essentially any approved Transaction. So long as Jefferies is acting solely in

an advisory capacity, or as a valuation expert, there is no market basis for such compensation.




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        18.      Third, Jefferies cannot independently fulfill even this limited role if the firm is

inherently biased and its independence is undermined in favor of achieving a restructuring – any

restructuring. Jefferies would be entitled to the Transaction Fee for nothing more than rubber

stamping the Debtors’ plan. As an “independent” expert, Jefferies would be tainted by the prospect

of any “success” fee.        See, e.g., Bernstein, Seabury & Williams, “The Empowerment of

Bankruptcy Courts in Addressing Financial Expert Testimony,” 80 Am. Bankr. L.J. 377, 432

(Summer 2006) (“[T]he existence of a contingency in the retention of an expert should generally

result in the disqualification of the expert. An expert who has a ‘financial dog in the fight’ cannot

be objective; his opinion will be swayed by his financial stake and, thus, be inherently

unreliable.”); Accrued Fin. Servs., Inc. v. Prime Retail, Inc., 298 F.3d 291, 300 (4th Cir. 2002)

(supplying expert testimony for a contingent fee violates public policy); see also In re Chemtura

Corp., 439 B.R. 561 (Bankr. S.D.N.Y. 2010) (success fees may be desirable to incentivize

investment bankers to find buyers or investors, but materially and adversely affect witness

credibility); In re Granite Broad. Corp., 369 B.R. 120, 142 (Bankr. S.D.N.Y. 2007) (an expert’s

testimony “was seriously undermined by the fact that his compensation from the Preferred Holders

is contingent on the total consideration to be received by the Preferred Holders under a confirmed

plan”); In re Oneida Ltd., 351 B.R. 79, 92 (Bankr. S.D.N.Y. 2006) (a valuation expert’s retention

with a contingency fee “seriously undermine[d]” the expert’s credibility).

        19.      If there are services actually needed by the Committee that FTI cannot provide,

which the Committee has not shown, Jefferies can agree to an hourly arrangement. As an

independent financial advisor and potential testifying expert, Jefferies should not be entitled to any

fee contingent on the approval of any Transaction.




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        20.      Fourth, as set forth below, the Committee does not and cannot satisfy the

requirements for approval of the terms of Jefferies’ employment under section 328 of the

Bankruptcy Code. Accordingly, and alternatively, if Jefferies’ retention is approved at all, the

Court should require that its compensation be subject to review under section 330 of the

Bankruptcy Code, and not section 328(a).

        21.      The Committee seeks to retain Jefferies pursuant to sections 327(a) and 328(a) of

the Bankruptcy Code. Section 327(a) provides:

                 The trustee, with the court’s approval, may employ … professional
                 persons, that do not hold or represent an interest adverse to the
                 estate, and that are disinterested persons, to represent or assist the
                 trustee in carrying out the trustee’s duties under this title.

11 U.S.C. § 327(a).

        22.      Section 328(a) of the Bankruptcy Code, upon which the Application also relies,

provides for retention of professionals on the basis of, among other things, fixed fees that are

approved upon their retention, but subject to revisiting at the conclusion of the case under the

narrow circumstance that the fee approved up front was “improvident in light of developments not

capable of being anticipated at the time of the fixing of such terms and conditions.” Section 328(a)

thus authorizes:

                 employment of a professional person under section 327 or 1103 of
                 this title, as the case may be, on any reasonable terms and conditions
                 of employment, including on a retainer, on an hourly basis, or on a
                 contingency fee basis. Notwithstanding such terms and conditions,
                 the court may allow compensation different from the compensation
                 provided under such terms and conditions after the conclusion of
                 such employment, if such terms and conditions prove to have been
                 improvident in light of developments not capable of being
                 anticipated at the time of the fixing of such terms and conditions.


11 U.S.C. § 328(a).



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        23.      Were Jefferies to seek compensation under section 330 of the Bankruptcy Code, its

fees would be subject to review for reasonableness “based on (i) the nature of the services, (ii) the

extent of the services, (iii) the value of the services, (iv) the time spent on the services, and (v) the

cost of comparable services in non-bankruptcy cases.” In re Busy Beaver Bldg. Ctrs., 19 F.3d 833,

840 (3d Cir. 1994). The court, on its own initiative, may “award compensation that is less than

the amount of compensation that is requested.” 11 U.S.C. § 330(a)(2).

        24.      But for professionals seeking to be compensated under section 328, as Jefferies

would here, a court must make an initial determination of the benefit that the professionals’

services will provide a benefit to the estate. This is essential because once the bankruptcy court

has determined that the terms and conditions of a professional’s retention application are

reasonable, under section 328(a), it may thereafter reduce that compensation only if it determines

that “such terms and conditions prove to have been improvident in light of developments not

capable of being anticipated at the time of the fixing of such terms and conditions.” In re Federal

Mogul-Global Inc., 348 F.3d 390, 397 (3d Cir. 2003). For this reason, section 328 applications

require particularly close scrutiny at the outset because the money paid to these professionals will

be even more difficult, if not impossible, to disgorge once distributed.                See In re XO

Communications, Inc., 323 B.R. 330, 339 (Bankr. S.D.N.Y. 2005) (“A finding of improvidence

pursuant to section 328 is a difficult determination to make and therefore, courts rarely disturb the

original terms and conditions of a professional’s employment.”); see also Circle K Corp. v.

Houlihan, Lokey, Howard & Zukin, Inc. (In re Circle K Corp.), 279 F.3d 669, 671 (9th Cir. 2002).

        25.      In its duties as gatekeeper, this Court thus “has an obligation to determine the

reasonableness of terms and conditions before authorizing the employment of professionals under

§ 328(a) and may eliminate, modify, or impose additional terms and conditions to satisfy the



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requirement of reasonableness.” In re High Voltage Engineering Corp., 311 B.R. 320, 333 (Bankr.

D. Mass. 2004). As the applicant seeking approval of Jefferies’ employment under section 328(a),

the Committee “must establish that the terms and conditions of employment are reasonable, and

evidence, not conclusory statements, is required to satisfy that burden.” Id.

        26.      Here, the Committee has not done so. Its narrative seeking to justify the retention

consists solely of conclusory statements that lack substance and are largely non-responsive to the

foregoing concerns:

                 [G]iven the uncertainties and exigencies of these cases, Jefferies’
                 services as an investment banker are particularly needed in these
                 cases for at least two reasons. First, these are large and complex
                 cases—the Debtors potentially have up to $2.2 billion in debt
                 outstanding, with unsecured creditors holding the lion’s share of this
                 amount, including almost $700 million in unsecured bonds, more
                 than $100 million in trade debt, and up to a $1 billion dollars in
                 contract-related claims. Given the magnitude of these claims, as
                 well as the fact that unsecured creditors will likely populate the only
                 non-insider voting class(es) in these cases, the Committee will play
                 a critical role in evaluating all sale and restructuring options
                 available to the Debtors, and it will require the services of both FTI
                 and Jefferies to successfully undertake this evaluation.

                 Second, the extremely compressed timeframe and “toggle” nature of
                 the cases as proposed by the Debtors mandate that the Committee
                 have the services of both a financial advisor and an investment
                 banker at its disposal…. In the event a deal to pursue a plan is not
                 reached, the Debtors would pivot to a sale of substantially all assets
                 pursuant to section 363 of the Bankruptcy Code, and they would
                 then have approximately two months to market and complete a sale
                 of the Lab-to Market™ platform.

                 It is clear that the Committee will require Jefferies’ services with
                 respect to both sides of this “toggle” structure. On the restructuring
                 side, Jefferies will need to evaluate the plan’s overall structure, test
                 its assumptions, understand valuation implications, and ultimately
                 weigh in on its feasibility. It may also be required to assist the
                 Committee with assessing the potential equity split and future value
                 considerations that will undergird relevant plan structures. These are
                 all pure investment banking workstreams, and the Committee
                 deserves to have access to Jefferies for this expertise. On the sale
                 side, Jefferies will be expected to assess the marketing efforts

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                 undertaken to date by Intrepid Investment Bankers LLP
                 (“Intrepid”), the Debtors’ investment banker, use its connections to
                 bring more potential bidders to the table, and work with Intrepid to
                 ensure that the bids received and the conduct of the auction itself are
                 handled in such a way so as maximize the proceeds ultimately
                 available for the benefit of the Debtors’ estates and their unsecured
                 creditors.

Application at 7-8.

        27.      That the cases are large does not bear on anything more than, hypothetically, the

possibility that FTI will have insufficient resources to handle the workload. That is highly

unlikely, as FTI would likely concur. That the timeline is “compressed” and there is a toggle

structure raises essentially the same issue of resources. The short answer is that if the burden

becomes too great for FTI (which is hard to conceive given FTI’s vast complement of

professionals), then the Committee at that time could seek to retain Jefferies on reasonable hourly

terms. The hypothesized need for another professional to “evaluate the plan’s overall structure,

test its assumptions, understand valuation implications and ultimately weigh in on its feasibility”

are services that FTI provides. Finally, there is no need for oversight of Intrepid’s marketing

efforts, but even if there were, it would not be worth $2 million and $125,000 per month, and the

same is true of any hypothetical added value of Jefferies’ “connections.”

        28.      On the facts here, none of these rationales support approval of the retention, let

alone under section 328. Courts have examined section 328(a) retentions under a nonexclusive

list of factors to be considered, including: “(1) whether terms of an engagement agreement reflect

normal business terms in the marketplace; (2) the relationship between the Debtor and the

professionals, i.e., whether the parties involved are sophisticated business entities with equal

bargaining power who engage in an arms-length negotiation; (3) whether the retention, as

proposed, is in the best interests of the estate; (4) whether there is creditor opposition to the

retention and retainer provisions; and (5) whether, given the size, circumstances and posture of the

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case, the amount of the retainer is itself reasonable, including whether the retainer provides the

appropriate level of “risk minimization,” especially in light of the existence of any other “risk-

minimizing” devices, such as an administrative order and/or a carve-out.” In re Insilco Techs.,

Inc., 291 B.R. 628, 633 (Bankr. D. Del. 2003). “This list is not intended to be exhaustive, nor will

every factor necessarily be of equal weight, depending upon the circumstances.” Id. at 634.

        29.      The Debtors submit that these considerations do not support approval of Jefferies’

retention or the proposed terms thereof. Pursuant to the Application, Jefferies is to be compensated

as if it were acting as the “exclusive investment banker” for a transaction, when it will actually be

acting solely in an advisory capacity, in which role its services are largely duplicative of FTI’s and

Intrepid’s, or potentially as an expert witness, where its testimony would be severely if not entirely

compromised by its success fee. In such a scenario, a monthly flat fee of $125,000 and a

Transaction Fee of $2,000,000 is flatly unreasonable. Even if the Court were to approve the

retention, which it should not, any approval should be subject to review for reasonableness under

section 330 of the Bankruptcy Code.

                                          CONCLUSION

        WHEREFORE, the Debtors respectfully request that the Court deny the Application, or

as a lesser alternative, approve it solely on an hourly-rate basis and subject to review of Jefferies’

compensation under section 330 of the Bankruptcy Code.




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 Dated: October 4, 2023                      PACHULSKI STANG ZIEHL & JONES LLP

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